Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 1 of 54 PageID #: 4832




                         EXHIBIT 24
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 2 of 54 PageID #: 4833




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                                CIV. A. NO. 2:21-CV-310-JRG
    COMMSCOPE HOLDING COMPANY, INC.,                  (Lead Case)
    COMMSCOPE INC., ARRIS
    INTERNATIONAL LIMITED, ARRIS
    GLOBAL LTD., ARRIS US HOLDINGS, INC.,
    ARRIS SOLUTIONS, INC., ARRIS
    TECHNOLOGY, INC., and ARRIS
    ENTERPRISES, LLC,
                        Defendants.



    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                                CIV. A. NO. 2:21-CV-309-JRG
    NOKIA CORP., NOKIA SOLUTIONS AND                  (Member Case)
    NETWORKS OY, and NOKIA OF AMERICA
    CORP.,
                        Defendants.


    NOKIA OF AMERICA CORP.,
                       Third-Party Plaintiff,
                    v.

    BROADCOM CORP., BROADCOM INC., and
    AVAGO TECHNOLOGIES
    INTERNATIONAL SALES PTE. LTD.,
                      Third-Party
                      Defendants.


                DECLARATION OF GEORGE A. ZIMMERMAN, PH.D.
                     REGARDING CLAIM CONSTRUCTION
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 3 of 54 PageID #: 4834




                                                  TABLE OF CONTENTS

  I.     Introduction ..........................................................................................................................1

  II.    Qualifications .......................................................................................................................2

  III.   Scope of Opinions ................................................................................................................7

  IV.    Legal Standards ....................................................................................................................8

  V.     Background ..........................................................................................................................9

         A.         Certain Family 2 Patents ..........................................................................................9

         B.         Family 4 Patent ......................................................................................................14

         C.         Certain Family 10 Patent .......................................................................................15

  VI.    Level of Ordinary Skill in the Art ......................................................................................17

  VII.   Disputed Claim Terms .......................................................................................................17

         A.         Certain Family 2 Patents ........................................................................................18

                    1.         “reduce a difference in latency between the bonded
                               transceivers” ...............................................................................................18

                    2.         “each bonded transceiver utilizing at least one transmission
                               parameter value to reduce a difference in latency between
                               the bonded transceivers” ............................................................................21

                    3.         “utilize at least one transmission parameter value, for each
                               transceiver in a plurality of bonded transceivers, to reduce a
                               difference in latency between the bonded transceivers” ............................22

                    4.         “utilize at least one parameter associated with operation of
                               at least one of the first and second transceivers to reduce a
                               difference in latency between the first and second
                               transceivers” ...............................................................................................23

         B.         Family 4 Patent ......................................................................................................25

                    1.         “multiple carrier signals corresponding to the scrambled
                               carrier signals are used by the first multicarrier transceiver
                               to modulate the same bit value” (identified by Defendants)
                               / “same bit value” (identified by Plaintiff) .................................................25




                                                                      i
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 4 of 54 PageID #: 4835




        C.    Certain Family 10 Patent .......................................................................................30

              1.        “A multicarrier communications transceiver operable to:
                        receive a multicarrier symbol comprising a first plurality of
                        carriers” ......................................................................................................30

              2.        “receive a first plurality of bits on the first plurality of
                        carriers using a first SNR margin; receive a second
                        plurality of bits on the second plurality of carriers using a
                        second SNR margin”..................................................................................32

              3.        “wherein the first SNR margin provides more robust
                        reception than the second SNR margin” ....................................................35




                                                              ii
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 5 of 54 PageID #: 4836




  I.     INTRODUCTION

         1.      My name is George A. Zimmerman, Ph.D., and I have been retained as a

  technical expert by counsel for Defendants Nokia of America Corporation, Nokia Corporation,

  Nokia Solutions and Networks Oy (collectively, “Nokia”) and CommScope Holding Company,

  Inc., CommScope Inc., ARRIS US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology,

  Inc., and ARRIS Enterprises, LLC (collectively, “CommScope”) (together, “Defendants”) to

  address certain issues concerning U.S. Patent No. 7,453,881 (the “’881 Patent”), U.S. Patent No.

  9,014,193 (the “’193 Patent”), U.S. Patent No. 9,300,601 (the “’601 Patent”) (collectively,

  “Certain Family 2 Patents”), U.S. Patent No. 8,090,008 (the “Family 4 Patent,” or the “’008

  Patent”), U.S. Patent No. 9,154,354 (the “’354 Patent” or the “Family 10 Patent”), which have

  been asserted by TQ Delta, LLC (“Plaintiff” or “TQ Delta”). Unless otherwise stated, the matters

  contained in this declaration are of my own personal knowledge and, if called as a witness, I

  could and would testify competently and truthfully regarding the matters set forth herein.

         2.      My opinions are based on my years of education, research and experience, as well

  as my investigation and study of relevant materials. In forming the opinions set forth in this

  declaration, I have reviewed the Certain Family 2 Patents, Family 4 Patent, Family 10 Patent,

  and their file histories, as well as the provisional application to which the Family 4 Patent claims

  priority, Provisional Application No. 60/164,134 (the “’134 Provisional”), and the provisional

  application to which the Family 10 Patent claims priority, Provisional Application No.

  60/197,727 (“the ’727 Provisional”). A list of materials considered is included in Exhibit A to

  my declaration.

         3.      I may rely upon these materials, my knowledge and experience, and/or additional

  materials, documents, and information in forming any opinions in this Action, including but not


                                                   1
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 6 of 54 PageID #: 4837




  limited to opinions to rebut arguments raised by Plaintiff. I reserve all rights that I may have to

  supplement this declaration if further information becomes available or if I am asked to consider

  additional information. Furthermore, I reserve all rights that I may have to consider and comment

  on any additional expert statements or testimony of Plaintiff’s experts in this matter.

         4.      My analysis of materials relevant to this Action is ongoing, and I may continue to

  review new material as it is becomes available. This declaration represents only those opinions I

  have formed to date. I reserve the right to revise, supplement, and/or amend my opinions stated

  herein based on new information and on my continuing analysis of the materials already

  provided. I also reserve the right to create exhibits to use in Court if called upon to testify.

         5.      I am being compensated at my usual consulting rate of $300 per hour for my time

  spent working on issues in this case. My compensation does not depend upon the outcome of this

  matter or the opinions I express.


  II.    QUALIFICATIONS

         6.      I have summarized in this section my educational background, work experience,

  and other relevant qualifications. A true and accurate copy of my curriculum vitae is attached as

  Exhibit B to this declaration.

         7.      In 1985, I received a Bachelor of Science degree in Electrical Engineering from

  Stanford University. In 1988, I received a Master of Science degree in Electrical Engineering

  from the California Institute of Technology. In 1990, I completed my doctoral thesis on

  interference cancellation for multi-access communications and received a Ph.D. in Electrical

  Engineering from the California Institute of Technology.

         8.      From 1985 to 1995, I held system engineering, digital design, and engineering

  management positions as a Member of Technical Staff at Jet Propulsion Laboratory in Pasadena,


                                                     2
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 7 of 54 PageID #: 4838




  California. At JPL, I was a leader on the SETI project. I also helped design the ground data

  processors that made radar images of the surface of Venus (the Magellan spacecraft). I also

  worked on other projects related to national security.

            9.    From 1989 to 1995, I was an independent consultant in the areas of

  communications and signal-processing analysis, including design and architecture of data

  transmission and storage equipment for various commercial vendors. Between 1992 and 1994, I

  was a lecturer at the California Institute of Technology on communications systems and related

  topics.

            10.   From 1995 through June 2000, I was the Chief Scientist at PairGain

  Technologies. PairGain was a pioneering firm in the DSL and broadband-networking space who

  made a full line of DSL-based broadband-access products including DSL line cards, DSLAMs,

  DSL access switches, DSL CPE, and chipsets for HDSL, ADSL, and HDSL2. At PairGain, I

  personally performed research, worked on standards development, developed strategy, and

  interfaced extensively with customers on their plans for deploying DSL.

            11.   In my capacity as Chief Scientist at PairGain, I participated in the formulation of

  standards for DSL transmission and systems, including the ADSL Forum, Committee T1E1.4,

  and the ITU-T G.992 series of DSL standards. I was a member and regular participant in ANSI

  T1E1.4 and ITU-T standards meetings on digital subscriber line technology from 1995 through

  1999, including authoring contributions and voting regularly.

            12.   In my duties at PairGain, I was involved in concept, design, and helping

  customers deploy HDSL, DMT ADSL, CAP ADSL, and SDSL solutions, for central office,

  subscriber premises, and outside plant operations, including the first tariffed DSL internet access

  services in the United States.



                                                   3
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 8 of 54 PageID #: 4839




         13.     From January 2001 through May 2011, I was the founder and Chief Technical

  Officer of Solarflare Communications, a leading provider of 10 Gigabit Ethernet server adapters

  and silicon. Solarflare developed chipsets and drove an IEEE standard for 10Gps Ethernet

  technology over twisted pair wiring known as 10GBASE-T, or IEEE Std. 802.3an-2006. The

  company sold 10GBASE-T chipsets to various OEMs, including Dell, for use in Ethernet

  switches and server adapters. The Solarflare 10GBASE-T business was sold to Marvell

  Semiconductor in May 2011, at which time I departed the company.

         14.     From May 2003 through May 2009, I was involved with Aktino Corporation, a

  designer and manufacturer of multi-pair bonded DSL transmission equipment for service

  providers. From 2003 through 2005, I served on the Board of Directors. And from 2005 through

  2009, I served as a technology advisor to the company.

         15.     From May 2011 to date, I have been the principal consultant at CME Consulting,

  specializing in wireline communications, including Ethernet and proprietary systems over

  twisted-pair wiring, similar to DSL. As part of my work at CME Consulting, I have been actively

  continuing my work on physical-layer specifications for data transmission over twisted-pair

  copper lines. I am a member of the IEEE 802.3 Ethernet Working Group, and was Chief Editor

  for two standards, IEEE Std 802.3bq-2016 25GBASE-T and 40GBASE-T and IEEE Std

  802.3bz-2016 2.5GBASE-T and 5GBASE-T. These specify physical-layer interfaces for

  Ethernet on twisted-pair copper lines. I am currently Chair of the IEEE P802.3cg 10 Mb/s Single

  Twisted Pair Ethernet Task Force, which is working on developing a specification for 10 Mb/s

  transmission on a single, twisted-pair copper line at distances up to 1 km.

         16.     I am also the technical committee chair of the Ethernet alliance, and on the board

  of the NBASE-T alliance, which is an industry body that works exclusively on twisted-pair



                                                   4
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 9 of 54 PageID #: 4840




  copper data transmission. “The NBASE-T Alliance focuses on building the ecosystem and

  consensus required to enable a new 2.5GBASE-T/5GBASE-T Ethernet standard. Working with

  key stakeholders, the consortium releases specifications that define 2.5 and 5 Gigabit per second

  (Gbps) speeds at up to 100 meters using the large, installed base of copper cabling in enterprise

  networks.” (www.nbaset.org/alliance/.) I therefore have experience beyond DSL in other data

  communications over twisted-wire pairs.

         17.    I have written and/or edited numerous technical publications, many of which

  focus on networking and communications technology. Several of them focus specifically on

  wireline networking technology, DSL, and aspects of data transmission in the telephone

  company local loop and similar environments. Exemplary publications include:

        Gergely Huszak, Hiroyoshi Morita, George Zimmerman, “Backward-Compatible

         Forward Error Correction of Burst Errors and Erasures for 10BASE-T1S”, IEICE

         Transactions on Communications, Vol. E104-B, No. 12, December 1, 2021, pp. 1524-

         1538 DOI: 10.1587/transcom.2021EBP3016.

        G. Zimmerman, “Power Backoff,” IEEE P802.3an Task Force Contributions:

         Zimmerman_1_0205.pdf, Zimmerman_1_0305.pdf, Zimmerman_2_0305.pdf, February

         & March 2005.

        G.A. Zimmerman, “Approaches to CSA-Reach Single-Pair HDSL,” PairGain

         contribution, T1E1.4/96-160, March 1995.

        G.A. Zimmerman, “Normative Text for Spectral Compatibility Evaluations,” PairGain

         contribution, T1E1.4/97-180R1, June 30, 1997.

        G.A. Zimmerman, “Achievable rates vs. operating characteristics of local loop

         transmission: HDSL, HDSL2, ADSL and VDSL,” Signals, Systems & Computers, 1997.



                                                 5
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 10 of 54 PageID #: 4841




         Conference Record of the Thirty-First Asilomar Conference on Signals, Systems and

         Computers, Volume 1, 2-5 Nov. 1997 Pages: 573-577 vol. 1.

         18.    I am also the named inventor on numerous patents and patent applications in

  networking and communications technology, including high-speed networking devices.

  Exemplary patents include:

        U.S. Patent 10,754,409, ENERGY EFFICIENT ETHERNET WITH MULTIPLE LOW-

         POWER MODES, S. Benyamin, P. Langer, G. Zimmerman, August 25, 2020.

        U.S. Patent No. 10,790,997, TRANSMISSION OF PULSE POWER AND DATA IN A

         COMMUNICATIONS NETWORK, C. Jones, J. Goergen, G. Zimmerman, R. O’Brien,

         D. Arduini, J. Potterf, S. Baek, September 29, 2020.

        U.S. Patent No. 10,291,285, METHODS FOR PERFORMING MULTI-DISTURBER

         ALIEN CROSSTALK LIMITED SIGNAL-TO-NOISE RATIO TESTS, B. Boban and G.

         Zimmerman, November 4, 2016.

        U.S.   Patent    No.    6,912,208:     METHOD    AND    APPARATUS   FOR    JOINT

         EQUALIZATION AND CROSSTALK MITIGATION, G. Zimmerman and W. Jones,

         June 28, 2005.

        U.S.    Patent    No.     7,002,897:     MULTIPLE      CHANNEL   INTERFERENCE

         CANCELLATION, W. Jones and G. Zimmerman, February 21, 2006.

        U.S. Patent No. 7,352,687: MIXED DOMAIN CANCELLATION, W. Jones, G.

         Zimmerman and C. Pagnanelli, April 1, 2008.

        U.S. Patent No. 7,164,764: METHOD AND APPARATUS FOR PRECODE

         CROSSTALK MITIGATION, G. Zimmerman and W. Jones, January 16, 2007.




                                                  6
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 11 of 54 PageID #: 4842




            U.S. Patent No. 7,808,407: SUB-CHANNEL DISTORTION MITIGATION IN

             PARALLEL DIGITAL SYSTEMS, G. Zimmerman and W. Jones, October 5, 2010.

            US. Patent No. 8,984,304: ACTIVE IDLE COMMUNICATION SYSTEM, G.

             Zimmerman, November 12, 2007.

            U.S. Patent No. 9,883,457, METHOD AND APPARATUS FOR REDUCING POWER

             CONSUMPTION OF A COMMUNICATIONS DEVICE DURING PERIODS IN

             WHICH THE COMMUNICATIONS DEVICE RECEIVES IDLE FRAMES FROM

             ANOTHER COMMUNICATIONS DEVICE, G. Zimmerman, March 16, 2015.

            U.S. Patent No. 5,459,680: METHOD AND APPARATUS FOR SPUR-REDUCED

             DIGITAL SINUSOID SYNTHESIS, G. Zimmerman and M. Flanagan, October 17, 1995.

            U.S. Patent No. 5,068,859: LARGE CONSTRAINT LENGTH HIGH SPEED VITERBI

             DECODER BASED ON A MODULAR HIERARCHICAL DECOMPOSITION OF

             THE DeBRUIJN GRAPH, by O. Collins, et al., November 26, 1991

             19.   A complete list of cases in which I have testified at trial, hearing, or by deposition

  within the preceding five years is provided in my curriculum vitae, which is attached as

  Exhibit B to my declaration.

             20.   Based on my education and experience, I believe I am qualified to render the

  opinions set forth here.


  III.       SCOPE OF OPINIONS

             21.   I have been asked to provide opinions regarding the meaning of certain disputed

  claim terms as understood by one of ordinary skill at the time of the claimed alleged inventions.

  My opinions are based on my understanding of the disputed claim terms and proposed

  constructions and the evidence relied on by the parties.


                                                     7
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 12 of 54 PageID #: 4843




  IV.    LEGAL STANDARDS

         22.     Certain legal principles that relate to my opinions have been explained to me by

  counsel.

         23.     I understand that ultimately the Court will determine how specific terms shall be

  construed. The intent of this declaration is to help inform the Court how a person of ordinary

  skill in the art would have understood the meaning of certain disputed claim terms at the time of

  the claimed alleged inventions in the context of the Asserted Patents’ claims, specifications, and

  prosecution histories in a manner that will assist the Court in the process of construing the

  claims. I understand that patent claims are generally given the meaning that the terms would

  have to a person of ordinary skill in the art in question as of the earliest claimed priority date. It

  is my understanding that a patentee can act as its own lexicographer by defining a term, in the

  patent specification, to have specific meaning. It is my understanding that statements made to the

  patent office by the patentee or its legal representative during prosecution can serve to

  illuminate, or possibly narrow the proper scope of claim terms, and that such statements must be

  considered when construing the claim terms. This is sometimes referred to as disclaimer. I have

  taken into account these principles in my analysis.

         24.     I understand that a claim is indefinite if, when read in light of the specification

  and its prosecution history, the claim fails to inform, with reasonable certainty, those skilled in

  the art about the scope of the claimed invention.

         25.     I understand that a patent may include both independent and dependent claims. I

  understand that a claim in dependent form must contain reference to a claim previously set forth

  and then specify a further limitation of the subject matter claimed. A claim in dependent form

  must be construed to incorporate by reference all the limitations of the claim on which it

  depends.

                                                      8
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 13 of 54 PageID #: 4844




  V.     BACKGROUND

         A.      Certain Family 2 Patents

         26.     I have been asked to provide opinions regarding the meaning of certain claim

  terms in the ’881 Patent, the ’193 Patent, and the ’601 Patent.

         27.     The ’881 patent is titled “SYSTEMS AND METHODS FOR MULTI-PAIR ATM

  OVER DSL.” The ’193 and ’601 patents are titled “BONDING DEVICE AND METHOD.”

         28.     I understand that TQ Delta has asserted the following claims and priority dates:

  Patent                   Asserted Claims1                                 Asserted Priority Date
  ’881 Patent              17, 18, 21, 23, 25, 26, 29, 31, 33, 34, 37, 38   October 5, 2001
  ’193 Patent              1, 9, 10, 12, 13                                 October 5, 2001
  ’601 Patent              8, 9, 13, 14, 15, 16, 17, 18, 21                 October 5, 2001

         29.     I have been asked to assume the applicability of the priority dates for these patents

  as detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patents as of those dates.

         30.     The ’881, ’193, and ’601 patents all share a common specification except that the

  ’193 and ’601 patents include a Figure 16 and description thereof, which are not present in the

  ’881 patent. Below I describe the ’881 patent, but the description is equally applicable to the

  ’193 and ’601 patents.

         31.       The ’881 patent discusses systems and methods to “combine multiple DSL

  PHY’s, i.e., multiple twisted wire pairs, to, for example, generate a high data rate connection for

  the transport of an ATM cell stream between the service provider and, for example, a DSL

  subscriber.” ’881 patent at col. 1:60-64. A transmitter transmits cells from a single ATM cell

  stream over multiple twisted pairs, and the receiver recombines the cells from each twisted pair

  1
   I understand the ’881 patent is asserted only against CommScope and the ’193 and ’601 patents
  are asserted only against Nokia.



                                                      9
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 14 of 54 PageID #: 4845




  in the appropriate order to recreate the original cell stream. Id. at col. 1:67-2:5. FIG. 2 of the

  patent, copied below, illustrates the disclosed multi-pair ATM over DSL system. Id. at col. 3:58-

  59.




         32.     On the service provider’s side, at the access node, an ATU-C multi-pair

  multiplexer 140 sits between the virtual path/virtual circuit (VP/VC) multiplexer 130 and the

  ATU-Cs 150. Id. at col. 4:15-18. On the subscriber’s side, at the broadband network termination,

  an ATU-R multi-pair multiplexer 220 sits between the ATU-Rs 210 and a VP/VC multiplexer

  230. Id. at col. 4:18-20.

         33.     Both the ATU-C multi-pair multiplexer 130 and the ATU-R multi-pair

  multiplexer 220 “have transmitter and receiver sections (not shown) whose operations are

  comparable.” Id. at col. 4:20-22. The transmitter of each multi-pair multiplexer creates the ATM



                                                 10
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 15 of 54 PageID #: 4846




  cell substreams, each of which is forwarded to a different ATU for transmission. Id. at col. 4:22-

  26. When the DSL PHYs provide different data rates, the multi-pair multiplexers are able to

  forward ATM cells “at, for example a ratio that matches the ratios of the available PHY data

  rates.” Id. at col. 5:22-27.

          34.     The ATM cells transported over different physical links can have different end-to-

  end delays, or latencies. Id. at col. 6:2-4. As a result of the different physical links having

  different latencies, “it is possible that an ATM cell that was sent over a DSL PHY may be

  received at the multi-pair multiplexing receiver after an ATM cell that was sent out later on a

  different DSL PHY.” Id. at col. 6:32-35. This complicates the reassembly process at the multi-

  pair multiplexer, because the multiplexer “must be able to reconstruct the ATM stream even if

  the ATM cells are not being received in the same order as they where [sic] transmitted.” Id. at

  col. 6:6-9.

          35.     The specification describes four sources of latency that can cause a difference in

  latency from one twisted pair to another. Id. at col. 6:10-31. The first source of latency is

  configuration latency, which “is based on the configuration of the DSL transmission

  parameters,” including “the data rate, coding parameters, such as coding method, codeword size,

  interleaving parameters, framing parameters, or the like.” Id. at 6:12-16. The second source of

  latency is Asynchronous Transfer Mode Transmission Convergence (ATM-TC) latency, which is

  “based on cell rate decoupling in the ATM-TC” when the “ATM-TC block in ADSL transceivers

  performs cell rate decoupling by inserting idle cells according to the ITU Standard I.432 . . .” Id.

  at col. 6:17-21. ATM-TC latency is dictated by and dependent on standard-based parameters and

  the timing of a transceiver and the state of its buffers. Id. at col. 6:20-24. The third source of

  latency is “wire latency,” which results from DSL electrical signals “experienc[ing] different



                                                  11
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 16 of 54 PageID #: 4847




  delays based on the difference in the length of the wire, the gauge of the wire, the number [of]

  bridged taps, or the like.” Id. at col. 6:25-28. The fourth source of latency is “design latency,”

  which is “based on differences in the DSL PHY design,” and “can also depend on the design

  chosen by the manufacturer.” Id. at col. 6:29-31. The differential latency is the difference in

  latency from one line to another as a result of different contributions from the four sources of

  latency. Id. at col. 6:2-5; see also id. at col. 6:10-31.

          36.     The ’881 patent describes reducing differential latency by “mandat[ing] that all

  DSL PHYs are configured with transmission parameters in order to provide the same

  configuration latency.” Id. at col. 6:56-59. One way to provide the same configuration latency on

  each DSL PHY is “by configuring the exact same data rate, coding parameters, interleaving

  parameters, etc. on all DSL PHYs.” Id. at col. 6:60-62. If different twisted pairs support different

  data rates, the specification describes “us[ing] the appropriate coding or interleaving parameters

  to have the same latency on all the bonded PHYs.” Id. at col. 6:62-65.

          37.     As an example of using the appropriate coding or interleaving parameters to have

  the same latency on all bonded PHYs when the data rates differ, the ’881 patent identifies the

  “Reed Solomon coding and interleaving functions as defined in ADSL standards G.992.1 and

  G.992.3” and notes that the latency is N*D/R, “where N is the number of bits in a codeword, D

  is the interleaver depth in codewords and R is the data [rate] in bits per second.” Id. at col. 6:66-

  7:6. The specification teaches that if two DSL PHYs have different data rates, then “in order to

  bond these PHYs together and have the same configuration latency set:

                                  N1*D1/R1=N2*D2/R2,

  where N1 and N2 are the bits in a codeword for each PHY and D1 and D2 are the interleaver

  depths for each PHY.” Id. at col. 7:11-17. To set the configuration latencies equal to one another,



                                                     12
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 17 of 54 PageID #: 4848




  the specification teaches that “the N1, N1 [sic, D1], N2 and D2 parameters must be chosen to

  satisfy the above equations.” Id. at col. 7:22-23 (emphasis added).

          38.    The specification provides a specific example: “if the configuration latency is

  specified as 0.016 seconds, and R1=6400000 bps and R2=1600000 then, as described in the

  example above, N1 anss [sic] D1 can be configured as N1=1600 and D1=64. Therefore:

                 N2*D2=(R2/R1)*D1*N1=(1600000/6400000)*1600*64=1600*64/4.

  Therefore, for example, N2 and D2 can be configured as (N2=1600, D2=16) or (N2=400,

  D2=64) or (N2=800, D2=32), etc.” Id. at col. 7:25-34.

          39.    The   ’881    patent   purports   to   incorporate     by   reference   DSL   Forum

  Recommendation TR-042 (“TR-042”), entitled “ATM Transport over ADSL Recommendation”

  and dated August 2001. Id. at col. 1:21-25. TR-042 “addresses implementation aspects specific

  to the transport of Asynchronous Transfer Mode (ATM) traffic over Access Networks based on

  Asymmetric Digital Subscriber Line (ADSL) technology.” TR-042 at § 1. Its objective is to

  specify the transport of ATM over ADSL in a manner that is consistent with the then-existing

  ADSL Recommendations, namely ANSI T1.413, ITU-T G.992.1, and ITU-T G.992.2. Id.

          40.    TR-042 notes that the interleaver used in ADSL is configurable, that its use

  causes additional latency, and that network operators can use the configurability of the

  interleaver to adjust the effectiveness of the forward error correction. TR-042 at § 4.3 (“The

  ADSL PHY Recommendations specify a configurable interleaver for protection against impulse

  noise. The interleaver configuration allows the Network Operator to deliver different service

  qualities by adjusting the effectiveness of the Forward Error Correction mechanism over the

  ADSL Access Network. This interleaver mechanism introduces additional latency as a side-

  effect.”).



                                                   13
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 18 of 54 PageID #: 4849




         B.      Family 4 Patent

         41.     I have been asked to provide opinions regarding the meaning of certain claim

  terms in the ’008 Patent.

         42.     The ’008 Patent is titled “System and method for scrambling the phase of the

  carriers in a multicarrier communications system.”

         43.     I understand that TQ Delta has asserted the following claims and priority dates:

  Patent                             Asserted Claims                  Asserted Priority Date
  ’008 Patent                        14                               November 9, 1999 or, in the
                                                                      alternative, November 9,
                                                                      2000, or, in the alternative,
                                                                      August 26, 2005, or, in the
                                                                      alternative, September 7,
                                                                      2007, or in the alternative,
                                                                      October 22, 2008

         44.     I have been asked to assume the applicability of priority dates for this patent as

  detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patents as of those dates.

         45.     In forming the opinions set forth in this declaration, I have reviewed the asserted

  Family 4 Patent and its file history, as well as the ’134 Provisional, the provisional application to

  which the Family 4 Patent claims priority.

         46.     The ’008 Patent generally describes transmission and reception using multicarrier

  modulation or Discrete Multitone Modulation (DMT). ’008 Patent at 1:33-36.               In a DMT

  transmitter, “[c]arrier signals (carriers) or sub-channels spaced within a usable frequency band of

  the communication channel are modulated at a symbol (i.e., block) transmission rate of the

  system.” ’008 Patent at 1:36-39. “The DMT transmitter typically modulates the phase

  characteristic, or phase, and amplitude of the carrier signals using an Inverse Fast Fourier

  Transform (IFFT) to generate a time domain signal, or transmission signal, that represents the


                                                      14
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 19 of 54 PageID #: 4850




  input signal.” ’008 Patent at 1: 40-45. The alleged invention of the ’008 Patent is directed to “a

  system and method that scrambles the phase characteristics of the modulated carrier signals in a

  transmission signal.” ’008 Patent at 2:34-36.

          47.     With respect to the background of the invention, I reserve the right to respond to

  TQ Delta’s expert’s description should a more detailed description of DMT transmission and

  reception become necessary.

          C.      Certain Family 10 Patent

          48.     I have been asked to provide opinions regarding the meaning of certain claim

  terms in the ’354 Patent.

          49.     The Family 10 Patent is titled “Systems And Methods For A Multicarrier

  Modulation System With A Variable Margin.”

          50.     I understand that TQ Delta has asserted the following claims and priority dates:

  Patent                              Asserted Claims                Asserted Priority Date2
  ’354 Patent                         10–12                          April 18, 2000



          51.     I have been asked to assume the applicability of priority dates for this patent as

  detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patents as of this date.

          52.     The ’354 Patent discusses a system and method to “allow the margin in a discrete

  multitone modulation system to vary depending on a type of impairment . . . [which] can be

  changing over some duration or from one installation to another.” ’354 Patent at 3:27–31. “In an

  2
    I understand that TQ Delta offered many alternative priority dates in its Preliminary
  Infringement Contentions, dated November 4, 2021. I have included the earliest asserted priority
  date for each asserted patent in this chart, which does not constitute an admission that these
  patents are entitled to claim priority to that date.



                                                    15
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 20 of 54 PageID #: 4851




  exemplary embodiment of the invention, the margin is set to be different on at least two

  subchannels in a discrete multitone modulation system. . . [where] subchannels which are

  expected to incur greater variations in impairment levels are set to have a higher margin, whereas

  subchannels which are expected to incur lower variations in impairment levels are set to have

  lower margins.” ’354 Patent at 4:14–20.

         53.     The system can be implemented by a ADSL modem or similar system. See ’354

  Patent at 9:11–21. “FIG. 2 illustrates an exemplary method of assigning margins to carriers

  according to an exemplary embodiment of this invention.” ’354 Patent at 8:7–9.




                        ’354 Patent, Fig. 2


                                                 16
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 21 of 54 PageID #: 4852




         54.     First, the system decides if margins need to be determined. ’354 Patent at 8:7–13

  (“S100”). If a margin needs to be determined, then the system determines the margins and stores

  them. Id. at 8:14–15 (“S120”). The SNR Margin of each carrier can have a certain margin

  assigned based on a particular environment impairment, including the length of the wire,

  temperature, and crosstalk. Id. at 5:7–10. “Having retrieved the margins for one or more of the

  carriers, the margins are set in the DMT system 30. The margins can then be subtracted from the

  carrier to determine an updated data rate for each carrier. Having set the margins, and knowing

  the data rate, the DMT system can then commence communication over the communications link

  10.” Id. at 8:1–6.


  VI.    LEVEL OF ORDINARY SKILL IN THE ART

         55.     I have been asked to offer my opinion regarding the level of ordinary skill in the

  art with respect to each of the Asserted Patents.

         56.     In my opinion, with regard to the Certain Family 2 Patents, Family 4 Patent, and

  the Family 10 Patents a person of ordinary skill in the art would have had a bachelor’s degree in

  electrical or computer engineering and 5 years of experience in telecommunications or a related

  field, a Master’s degree in electrical engineering and 2-3 years of experience in

  telecommunications or a related field, or a Ph.D. in electrical engineering with 1-2 years of

  experience in telecommunications or a related field. As of the time of the invention of the

  various patents and continuing through the present, I qualify as a person of ordinary skill in the

  art.


  VII.   DISPUTED CLAIM TERMS

         57.     I have been asked to provide opinions as to the terms and issues identified below

  and the claims associated with those terms.

                                                      17
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 22 of 54 PageID #: 4853




          A.     Certain Family 2 Patents

                 1.     “reduce a difference in latency between the bonded transceivers”

             Claim(s)            Plaintiff’s Position                 Defendants’ Position
        ’881 Patent,       “reduce a difference in              Indefinite, or, if not indefinite,
        Claims 17, 25, 26, configuration latency”               “minimize the difference in the
        29, 31, 33, 37                                          configuration latencies between
                                                                the bonded transceivers”


          58.    I understand that the parties dispute the construction of the phrase “reduce a

  difference in latency between the bonded transceivers,” which is in the above-listed claims of the

  ’881 Patent. I understand that the Plaintiff contends that this term means “reduce a difference in

  configuration latency.” Having considered the parties’ positions, I agree with Defendants’

  position that the term is indefinite. As I explain below, it is my opinion that a person having

  ordinary skill in the art would not understand what is meant by this term with reasonable

  certainty.

          59.    In my opinion, the word “reduce” is a word of degree—just like the converse

  word “increase” is a word of degree. To “reduce a difference in latency” necessarily requires a

  comparison of the reduced latency difference against some baseline latency. But, in my opinion,

  neither the specification nor the prosecution history provides any guidance from which a person

  of skill in the art could determine what it means to “reduce a difference in latency” to anything

  other than zero difference between configuration latencies.

          60.    While the specification identifies a variety of causes of latency, the specification

  does not illuminate what it means to “to reduce a difference in latency.” To the contrary, the

  specification adds both subjectivity and uncertainty to the limitation. The ’881 patent explains

  that the configuration latency of a transceiver can be calculated using an equation that involves

  the transmission parameters used by that transceiver. See, e.g., ’881 patent at col. 6:66-7:6


                                                  18
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 23 of 54 PageID #: 4854




  (configuration latency is the product of the number of bits in a codeword (N) and the interleaver

  depth in codewords (D) divided by the data rate in bits per second (R), i.e., N*D/R). Thus, a

  transceiver’s configuration latency depends on the transmission parameters actually configured

  for that transceiver, and the data rate transmitted by that transceiver. The ’881 patent presents its

  disclosure in the context of ADSL. As a person having ordinary skill as of the ’881 patent’s

  priority date would have understood, before the ADSL initialization procedure has been

  substantially completed, the data rate, R, is unknown. The transmission parameters are also

  determined during initialization but are not implemented until the transceiver transitions to

  steady-state communication. Without configured transmission parameters and a known data rate

  for the transceivers, there is no known configuration latency. Therefore, there is no configuration

  latency difference between two transceivers that can be known or determined until those two

  transceivers have been configured, i.e., until the initialization procedure has been substantially

  completed, the transmission parameters have been set, and the transmitters are transmitting at

  their respective established data rates R. The specification of the ’881 patent does not disclose

  any way to reduce a difference in latency other than by configuring all transceivers’ transmission

  parameters so that all transceivers have the same configuration latencies, thereby eliminating

  entirely any difference in configuration latency between the bonded transceivers. See ’881 patent

  at col. 6:56-65 (describing reducing difference in latency by “mandat[ing] that all DSL PHYs are

  configured with transmission parameters in order to provide the same configuration latency.”);

  col. 6:66-7:36 (calculating transmission parameters to provide the same configuration latency).

  For example, the patent does not disclose how to configure the transmission parameters to

  provide configuration latencies that are not identical, but nevertheless still “reduce a difference in

  latency.” Aside from reducing the difference in configuration latency to zero, i.e., eliminating it



                                                   19
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 24 of 54 PageID #: 4855




  entirely, the ’881 patent does not describe any way that one of ordinary skill in the art would

  have known that a latency was reduced.

            61.   Indeed, it is possible to increase the difference in overall latency between two

  links by reducing the difference in configuration latency. Where one link’s wire latency is 10x

  greater than the second, utilizing transmission parameters to reduce only a difference in

  configuration latency could exacerbate the difference in overall latency, or leave it unchanged

  (i.e., by bringing the configuration latencies close to one another, the 10x wire latency difference

  remains unresolved). If, however, the system was configured to reduce the difference in the

  overall latency as the claim reads, it would reduce configuration latency on the high-wire-latency

  link while increasing configuration latency on the low-wire-latency link—thereby reducing the

  overall difference in latency despite increasing the difference in configuration latency.

            62.   The prosecution history does not provide any guidance for how to reduce a

  difference in latency either. None of the claims of the ’881 Patent as originally submitted

  included a limitation related to reducing a difference in latency. See Application No. 10/264,258

  (filed October 4, 2002), Claims. The limitation was introduced when the applicant cancelled all

  the original claims, and added new claims 13-70 ostensibly “to provide more comprehensive

  protection for certain aspects of the invention.” See February 28, 2007 Amendment, at pp. 4-13.

  After the applicant conducted an interview with the Examiner on March 15, 2007, the summary

  of which offers no specifics as to what was discussed, the Examiner allowed claims 13-28, again

  with no discussion of the limitation. Claims 29 and 30 became claims 17 and 18 of the ’881

  patent.

            63.   The ’881 patent does not include any guidance that would allow a skilled artisan

  to determine with reasonable certainty whether a difference in latency has been “reduced”



                                                   20
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 25 of 54 PageID #: 4856




  between transceivers when their configuration latencies are not identical. For example, if one

  “bonded transceiver” has a configuration latency of 10 ms, and another has a configuration

  latency of 12 ms, does that mean a difference in latency has been reduced? The ’881 patent

  provides no answer to this question.

         64.     In my opinion, therefore, to a person of skill in the art, the limitation “to reduce a

  difference in latency” lacks any certainty as to its meaning or scope, let alone reasonable

  certainty, and hence renders the claims indefinite.3

                 2.      “each bonded transceiver utilizing at least one transmission
                         parameter value to reduce a difference in latency between the bonded
                         transceivers”

         Claim(s)             Plaintiff’s Position             Defendants’ Position
       ’881 Patent,    Plain and ordinary meaning. No Indefinite, or, if not indefinite, “each
       Claims 17,      construction necessary.        bonded transceiver configured with at
       25, 26, 29,                                    least one transmission parameter value
       31, 33, 37      The term “reduce a difference to minimize the difference in the
                       in latency between the bonded configuration latencies between the
                       transceivers” means “reduce a bonded transceivers”
                       difference in configuration
                       latency”


         65.     I understand that the parties dispute the construction of “each bonded transceiver

  utilizing at least one transmission parameter value to reduce a difference in latency between the

  bonded transceivers,” which is in the above-listed claims of the ’881 Patent. I understand that the

  Plaintiff does not offer a construction for this term but contends that the portion of the term

  “reduce a difference in latency between the bonded transceivers” be construed to mean “reduce a

  difference in configuration latency.” Having considered the parties’ positions, I agree with

  Defendants’ position that the term is indefinite. For the same reasons provided above with

  3
    Because I believe this term is indefinite, I do not offer an opinion on Defendants’ proposed
  alternative construction.



                                                  21
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 26 of 54 PageID #: 4857




  respect to the term “reduce a difference in latency between the bonded transceivers,” a person of

  skill in the art at the time of the alleged invention would not understand what is meant by the

  phrase “each bonded transceiver utilizing at least one transmission parameter value to reduce a

  difference in latency between the bonded transceivers.”

         66.     In my opinion, therefore, to a person of skill in the art, the limitation “each

  bonded transceiver utilizing at least one transmission parameter value to reduce a difference in

  latency between the bonded transceivers” lacks any certainty as to its meaning or scope, let alone

  reasonable certainty, and hence renders the claims indefinite.4

                 3.     “utilize at least one transmission parameter value, for each
                        transceiver in a plurality of bonded transceivers, to reduce a
                        difference in latency between the bonded transceivers”

         Claim(s)           Plaintiff’s Position            Defendants’ Position
       ’881 Patent, Plain and ordinary meaning. No Indefinite, or, if not indefinite,
       Claims 33, 37 construction necessary.       “configure at least one transmission
                                                   parameter value of each bonded
                     The term “reduce a difference transceiver to minimize the difference
                     in latency between the bonded in the configuration latencies between
                     transceivers” means “reduce a the bonded transceivers”
                     difference in configuration
                     latency”


         67.     I understand that the parties dispute the construction of “utilize at least one

  transmission parameter value, for each transceiver in a plurality of bonded transceivers, to reduce

  a difference in latency between the bonded transceivers,” which is in the above-listed claims of

  the ’881 Patent. I understand that the Plaintiff does not offer a construction for this term but

  contends that the portion of the term “reduce a difference in latency between the bonded

  transceivers” be construed to mean “reduce a difference in configuration latency.” Having

  4
    Because I believe this term is indefinite, I do not offer an opinion on Defendants’ proposed
  alternative construction.



                                                  22
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 27 of 54 PageID #: 4858




  considered the parties’ positions, I agree with Defendants’ position that the term is indefinite. For

  the same reasons provided above with respect to the term “reduce a difference in latency

  between the bonded transceivers,” a person of skill in the art at the time of the alleged invention

  would not understand what is meant by the phrase “utilize at least one transmission parameter

  value, for each transceiver in a plurality of bonded transceivers, to reduce a difference in latency

  between the bonded transceivers.”

         68.     In my opinion, therefore, to a person of skill in the art, the limitation “utilize at

  least one transmission parameter value, for each transceiver in a plurality of bonded transceivers,

  to reduce a difference in latency between the bonded transceivers” lacks any certainty as to its

  meaning or scope, let alone reasonable certainty, and hence renders the claims indefinite.5

                 4.      “utilize at least one parameter associated with operation of at least
                         one of the first and second transceivers to reduce a difference in
                         latency between the first and second transceivers”

         Claim(s)            Plaintiff’s Position              Defendants’ Position
       ’193 Patent,    Plain and ordinary meaning. No Indefinite
       Claim 13        construction necessary.

       ’601 Patent, The term “reduce a difference
       Claims 14, 21 in latency between the bonded
                     transceivers” means “reduce a
                     difference in configuration
                     latency”


         69.     I understand that the parties dispute the construction of “utilize at least one

  parameter associated with operation of at least one of the first and second transceivers to reduce

  a difference in latency between the first and second transceivers,” which is in the above-listed

  claims of the ’193 Patent and the ’601 Patent. I understand that the Plaintiff does not offer a

  5
    Because I find this term to be indefinite, I do not offer an opinion on Defendants’ proposed
  alternative construction.



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Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 28 of 54 PageID #: 4859




  construction for this term but contends that the portion of the term “reduce a difference in latency

  between the bonded transceivers” be construed to mean “reduce a difference in configuration

  latency.” Having considered the parties’ positions, I agree with Defendants’ position that the

  term is indefinite. For the same reasons provided above with respect to the term “reduce a

  difference in latency between the bonded transceivers,” a person of skill in the art at the time of

  the alleged invention would not understand what is meant by the phrase “utilize at least one

  parameter associated with operation of at least one of the first and second transceivers to reduce

  a difference in latency between the first and second transceivers.”

         70.     The additional disclosure added to the specification of the ’193 and ’601 patents

  does not provide any additional clarity as it similarly does not disclose any way to reduce a

  difference in latency other than by configuring all transceivers’ transmission parameters so that

  all transceivers have the same configuration latencies, thereby eliminating entirely any difference

  in configuration latency between the bonded transceivers. See, e.g., ’193 patent at col. 11:3-13.

         71.     Likewise, the prosecution histories of the ’193 and ’601 patents do not provide

  any guidance for how to reduce a difference in latency either. None of the claims of either as

  originally submitted included a limitation related to reducing a difference in latency. See

  Application No. 14/465,502 (filed August 21, 2014), Claims; Application No. 14/682,435 (filed

  April 9, 2015), Claims. In the prosecution of the ’193 patent, the applicant first canceled original

  claims 1-12 and added new claims 13-18 via a preliminary amendment. See September 26, 2014

  Preliminary Amendment, at pp. 42-3. None of the newly added claims included the reduced

  latency limitation. In response to a rejection, the applicant conducted an interview with the

  Examiner on December 16, 2014, where the applicant apparently proposed an amendment to the

  pending claims that overcame the rejection. Subsequently, the applicant introduced the limitation



                                                  24
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 29 of 54 PageID #: 4860




  when it added new claims 19-27, without explanation, which the Examiner allowed, again

  without explanation. Claim 27 became claim 13 of the ’193 patent.

          72.     In the prosecution of the ’601 patent, the limitation was introduced when the

  applicant cancelled all the original claims and added new claims 13-33 without explanation. See

  February 28, 2007 Amendment, at pp. 4-13. After the applicant conducted an interview with the

  Examiner on November 19, 2015, the summary of which includes no mention of the latency

  reduction limitation, the Examiner allowed claims 13-33, again with no discussion of the

  limitation. Claims 26 and 33 became claims 14 and 21 of the ’601 patent.

          73.     As with the ’881 patent, the ’193 and ’601 patents do not include any guidance

  that would allow a skilled artisan to determine with reasonable certainty whether a difference in

  configuration latency has been “reduced” between transceivers when their configuration

  latencies are not identical.

          74.     In my opinion, therefore, to a person of skill in the art, the limitation “utilize at

  least one parameter associated with operation of at least one of the first and second transceivers

  to reduce a difference in latency between the first and second transceivers” lacks any certainty as

  to its meaning or scope, let alone reasonable certainty, and hence renders the claims indefinite.

          B.      Family 4 Patent

                  1.      “multiple carrier signals corresponding to the scrambled carrier
                          signals are used by the first multicarrier transceiver to modulate the
                          same bit value” (identified by Defendants) / “same bit value”
                          (identified by Plaintiff)

          Claim(s)             Plaintiff’s Position                   Defendants’ Position
        ’008 Patent,    “a first carrier signal is used by   Indefinite
        Claim 14        the first multicarrier transceiver
                        to demodulate the value of a bit
                        of the received bit stream and at
                        least one more carrier signal is
                        used by the first multi carrier
                        transceiver to demodulate the

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Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 30 of 54 PageID #: 4861




                       value of the same bit of the
                       received bit stream, wherein the
                       carrier signals correspond to the
                       plurality of phase-shifted and
                       scrambled carrier signals” / “a
                       first carrier signal is used by the
                       first multicarrier transceiver to
                       modulate the value of a bit and
                       at least one more carrier signal
                       is used by the first multicarrier
                       transceiver to modulate the
                       value of the same bit, wherein
                       the carrier signals correspond to
                       the scrambled carrier signals”



         75.     I understand that the parties dispute the construction of “multiple carrier signals

  corresponding to the scrambled carrier signals are used by the first multicarrier transceiver to

  modulate the same bit value” (identified by Defendants) / “same bit value” (identified by

  Plaintiff) which is in the above-listed claim of the ’008 Patent. I understand that the Plaintiff

  contends that this term be construed to mean “a first carrier signal is used by the first multicarrier

  transceiver to demodulate the value of a bit of the received bit stream and at least one more

  carrier signal is used by the first multi carrier transceiver to demodulate the value of the same bit

  of the received bit stream, wherein the carrier signals correspond to the plurality of phase-shifted

  and scrambled carrier signals” / “a first carrier signal is used by the first multicarrier transceiver

  to modulate the value of a bit and at least one more carrier signal is used by the first multicarrier

  transceiver to modulate the value of the same bit, wherein the carrier signals correspond to the

  scrambled carrier signals.” I understand that Defendants contend that the term is indefinite.

  Having considered the parties’ positions, I agree with Defendants’ interpretation.

         76.     It is my opinion that the limitation “multiple carrier signals corresponding to the

  scrambled carrier signals are used by the first multicarrier transceiver to modulate the same bit


                                                    26
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 31 of 54 PageID #: 4862




  value” (identified by Defendants) / “same bit value,” when read in light of the specification and

  file history, does not inform a person of ordinary skill in the art, with reasonable certainty, of the

  scope of the invention. In other words, I believe a person of ordinary skill would find this

  limitation to be indefinite. The indefiniteness arises from the lack of clarity of whether the claim

  intends for the term “same bit value” to mean “same bit position” or whether it employs the

  different meaning ascribed to the term “bit value” in the specification.

         77.     A person of ordinary skill in the art could interpret “same bit value” in at least two

  ways. First, a person of ordinary skill could interpret “same bit value” to mean a particular bit in

  a series of bits, i.e., a bit position. For example, the specification refers to the “same input data

  bits,” stating that, an example of a case “where the phases of modulated carrier signals are not

  random [is] when . . . multiple carrier signals are used to modulate the same input data bits.”

  ’008 Patent at 2:16-19. Provisional Application 60/164,134, to which the Family 4 Patent claims

  priority, also refers to this concept in terms of “same data bits” rather than “same bit value.”

  ’134 Provisional at 1-2 (stating that improving phase randomization would be needed where

  “[t]he same data bits are used to modulate multiple carriers. This would occur in cases where it

  was desired (or required) to send the same data bits on different carriers and then combine the

  results at the receiver in order to receive the bits at a lower Bit Error Rate (this is a well-known

  method for using frequency diversity to decrease the BER).”). A person of skill in the art would

  understand both of these passages, which detail the problem the invention purportedly addresses,

  to mean repeating a portion of a bit stream on multiple carriers, or, as I described above,

  modulating the same bit position in a series of bits onto multiple carriers.

         78.     On the other hand, the specification generally and repeatedly uses the actual claim

  language “bit value” in a different sense. The specification discusses selecting a value for use in



                                                   27
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 32 of 54 PageID #: 4863




  computing the phase shift independently of “the bit value(s) modulated onto the carrier signal.”

  ’008 Patent at 4:50-53, 5:2-4 (“When the equation is independent of the bit values of the input

  serial bit stream 54, the computed phase shifts are also independent of such bit values.”);

  Abstract (“The value is determined independently of any bit value carried by that carrier

  signal.”); 2:39-40 (“The value is determined independently of any input bit value carried by that

  carrier signal.”). In these passages, a person of ordinary skill would understand that the

  specification is referring to the value (0 or 1) of any given bit, rather than the specific position of

  the bit in the bit stream.

          79.     The different meanings create uncertainty over claim scope. In the first meaning,

  the claim scope would be limited to instances in which specific portions of a bit stream are

  modulated on multiple carriers. But taking the meaning of bit value generally described in the

  specification, the scope of the claim would be much broader. Because the value of a bit can only

  be 0 or 1, once there are three or more carriers carrying only a single bit, at least two of them will

  be modulated by the same bit value (0 or 1). As the specification explains, there may be

  hundreds of carriers. ’008 Patent at 5:49-52. Thus, interpreting “same bit value” to refer to the

  value of a bit (0 or 1), the claim scope is broadened to include essentially any transmission. In

  contrast, modulating the same bits onto multiple carriers (for improved bit ratio or other reasons)

  would refer to a discrete and smaller set of transmissions. A person of ordinary skill in the art

  would understand that scrambling the phase characteristics of the carriers in both of these

  scenarios would be reasonable design goals. But, as described above, between the claim scope

  suggested by the problem that the invention purportedly addresses and the broader claim scope

  suggested by the meaning the specification otherwise ascribes to “bit value,” the specification

  fails to clarify what meaning ought to be ascribed to “same bit value” as used in the claims, and



                                                    28
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 33 of 54 PageID #: 4864




  thus a person of ordinary skill would not be reasonably certain of the claim scope.

         80.     The prosecution history does not provide any guidance regarding the meaning and

  scope of the term “same bit value” either. The claim that issued as claim 14 was examined as

  claim 53, and when that claim was first proposed via a preliminary amendment, the claim

  included the limitation “wherein multiple carrier signals are used to modulate the same bit value,

  and the value associated with the carrier signal is determined using a pseudo-random number

  generator.” Applicant Arguments/Remarks Made in an Amendment dated Aug. 11, 2011 at 3.

  The applicant provided no reasoning for amending the claims and did not state where the

  specification provided support for the claims. Applicant Arguments/Remarks Made in an

  Amendment dated Aug. 11, 2011 at 6. The applicant amended claim 53 on October 3, 2011, such

  that the limitation was then in the same form as it was when it issued: “wherein multiple carrier

  signals corresponding to the scrambled carrier signals are used by the first transceiver to

  modulate the same bit value.” Applicant Arguments/Remarks Made in an Amendment dated Oct.

  3, 2011 at 5. The applicant also filed a terminal disclaimer to the patent resulting from

  Application No. 11/860,080, and the claims were allowed shortly thereafter. Notice of

  Allowance, Nov. 17, 2011 at 2. Thus, the prosecution history does not provide any guidance

  regarding the meaning and scope of the term “same bit value.”

         81.     Plaintiff’s proposed construction also does not clarify the meaning of the term

  “same bit value.” First, despite the fact that the term identified for construction by Plaintiff is

  contained within the term identified for construction by Defendants, Plaintiff apparently

  interprets the broader term in the context of demodulation and interprets the narrower term in the

  context of modulation. See Plaintiff’s construction, supra (“a first carrier signal is used by the

  first multicarrier transceiver to demodulate the value of a bit of the received bit stream and at



                                                  29
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 34 of 54 PageID #: 4865




  least one more carrier signal is used by the first multi carrier transceiver to demodulate the value

  of the same bit of the received bit stream, wherein the carrier signals correspond to the plurality

  of phase-shifted and scrambled carrier signals” / “a first carrier signal is used by the first

  multicarrier transceiver to modulate the value of a bit and at least one more carrier signal is used

  by the first multicarrier transceiver to modulate the value of the same bit, wherein the carrier

  signals correspond to the scrambled carrier signals”). I see no reason for this difference, and I

  assume that this discrepancy in Plaintiff’s proposed constructions is in error. Further, Plaintiff’s

  construction does nothing to clarify whether “same bit value” should be understood according to

  either of the two interpretations discussed above, i.e., whether “same bit value” should mean

  “same bit position” or instead should mean “same bit value, i.e., 0 or 1.” Instead Plaintiff’s

  construction appears to utilize both understandings of the term, where Plaintiff’s construction

  requires a first carrier signal to modulate “the value of a bit” (i.e., 0 or 1) and another carrier

  signal to modulate “the value of the same bit.” In this latter phrase, Plaintiff appears to be

  referring to both interpretations of the term—the value of the bit and the position of the bit.

  Plaintiff’s construction therefore does not clarify the scope of the claim.

         82.     In my opinion, therefore, to a person of skill in the art, the limitation “multiple

  carrier signals corresponding to the scrambled carrier signals are used by the first multicarrier

  transceiver to modulate the same bit value” (identified by Defendants) / “same bit value”

  (identified by Plaintiff) lacks any certainty as to its meaning or scope, let alone reasonable

  certainty, and hence, the term is indefinite.

         C.      Certain Family 10 Patent

                 1.      “A multicarrier communications transceiver operable to: receive a
                         multicarrier symbol comprising a first plurality of carriers”

         Claim(s)            Plaintiff’s Position                   Defendants’ Position
       ’354 Patent,    Plain and ordinary meaning. No      Indefinite

                                                   30
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 35 of 54 PageID #: 4866




        Claim 10        construction necessary



          83.      I understand that the parties dispute the construction of “[a] multicarrier

  communications transceiver operable to receive a multicarrier symbol comprising a first plurality

  of carriers,” which is in asserted claim 10 of the ’354 Patent. I understand that the Plaintiff

  contends that this term should be afforded its “[p]lain and ordinary meaning. No construction

  necessary.” Having considered the parties’ positions, I agree with Defendants’ interpretation. As

  I explain below, it is my opinion that a person having ordinary skill in the art would not

  understand what is meant by this term with reasonable certainty.

          84.      The specification of the ’354 Patent does not disclose or define a “multicarrier

  symbol.” The specification shows that the alleged invention relates to a discrete multitone

  modulation system. See, e.g., ’354 Patent at 1:30–2:45, 4:14–16 (“In an exemplary embodiment

  of the invention, the margin is set to be different on at least two subchannels in a discrete

  multitone modulation system.”). Therefore, in this context, a person of ordinary skill in the art

  would understand a “multicarrier symbol” to refer to a symbol used in a discrete multitone

  modulation system, which is the sum of the full collection of carriers modulated by the system. It

  is unclear to a person of ordinary skill in the art how a multicarrier symbol is subdivided into a

  first and a second plurality of carriers. Furthermore, it is unclear to a person of ordinary skill in

  the art how a multicarrier symbol could comprise a subset of carriers from the full collection

  such that there could be a first plurality of carriers and a second plurality of carriers.

          85.      Nor does the prosecution history provide any guidance on this term. The applicant

  cancelled claims 2–45 in the preliminary amendment, leaving claim 1 as the only claim in the

  application. See ’354 Prosecution History, January 7, 2015 Preliminary Amendment at 3. None



                                                    31
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 36 of 54 PageID #: 4867




  of the original claims included a reference to a “symbol” or a “multicarrier symbol.” See id. ’354

  Prosecution History, January 7, 2015 Preliminary Amendment, Claims. Subsequently, a Non-

  Final Rejection based on nonstatutory obviousness-type double-patenting and anticipation was

  sent to the applicant. See February 9, 2015 Non-Final Rejection at 3–5. In response, the applicant

  canceled claim 1 and added claims 46–57, some of which reference a “multicarrier symbol.” See

  May 14, 2015 Amendment, Claims. Based on this amendment, the Examiner allowed claims 46–

  57 and stated that the “[c]laims are allowed over prior art of record because the cited references

  either singularly or in combination cannot teach or suggest uniquely distinct features used in

  combination with other claimed elements ‘transmitting/receiving a multicarrier symbol

  comprising a first plurality of carriers and a second plurality of carriers’ as set forth in the

  application claims 46, 49, 52 and 55,” with no further discussion of this limitation. July 29, 2015

  Notice of Allowance at 2 (emphasis in original). Claim 55 became claim 10 of the ’354 Patent.

         86.     In my opinion, a person of ordinary skill in the art would find that the limitation,

  “[a] multicarrier communications transceiver operable to receive a multicarrier symbol

  comprising a first plurality of carriers” lacks any certainty as to its meaning or scope, let alone

  reasonable certainty, and hence renders the claims indefinite.

                 2.      “receive a first plurality of bits on the first plurality of carriers using
                         a first SNR margin; receive a second plurality of bits on the second
                         plurality of carriers using a second SNR margin”

         Claim(s)            Plaintiff’s Position                   Defendants’ Position
       ’354 Patent,    Plain and ordinary meaning. No      Indefinite
       Claim 10        construction necessary



         87.     I understand that the parties dispute the construction of “receive a first plurality of

  bits on the first plurality of carriers using a first SNR margin; receive a second plurality of bits



                                                   32
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 37 of 54 PageID #: 4868




  on the second plurality of carriers using a second SNR margin,” which is in claim 10 of the ’354

  Patent. I understand that the Plaintiff contends that this term should be afforded its “[p]lain and

  ordinary meaning. No construction necessary.” Having considered the parties’ positions, I agree

  with     Defendants’ interpretation   because    the Plaintiff’s   construction     contradicts   the

  specification’s description of the relationship between the plurality of carriers and the SNR

  margin assigned to the plurality of carriers. As I explain below, it is my opinion that a person

  having ordinary skill in the art would not understand what is meant by this term.

           88.    The specification of the ’354 Patent does not disclose or define “receive a first

  plurality of bits on the first plurality of carriers using a first SNR margin; receive a second

  plurality of bits on the second plurality of carriers using a second SNR margin.” Based on the

  specification, a person of skill in the art would understand that in the context of the ’354 Patent,

  an SNR margin is assigned to a carrier. See ’354 Patent at 3:27–33, 4:10–11; 5:20–24, 9:22–24.

  The specification does not describe any other connection between a SNR margin and a carrier,

  such as how the plurality of carriers use a SNR margin to “receive a [first/second] plurality of

  bits.”

           89.    During initialization of the discrete multitone modulation system, the signal-to-

  noise ratios of each subchannel is calculated by the system by sending signals between the

  transmitter and receiver. Then, the system calculates the number of bits that can be transmitted

  on each subchannel, in part, by using the calculated signal-to-noise ratios of each subchannel. A

  person of ordinary skill in the art would not understand how the transmitter could “receive a

  [first/second] plurality of bits . . . using a [first/second] SNR margin” when the SNR margin is

  used by the transmitter during initialization to determine the number of bits to transmit on each

  subchannel. Nor could a person of ordinary skill in the art understand how the SNR margin, as



                                                  33
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 38 of 54 PageID #: 4869




  assigned to the plurality of carriers, is used to “receive a [first/second] plurality of bits.” Based

  on the ’354 Patent specification, a person of skill in the art would understand that the SNR

  margin is assigned to the plurality of carriers based on impairments of or on a carrier, such as

  insertion loss of the wire or medium itself, or based on a known impairment on a carrier. See

  ’354 Patent at 2:14–19; 5:3–6; 7:29–36. Accordingly, the SNR margin is not used to receive a

  plurality of bits.

          90.     Nor does the prosecution history provide any guidance on this term. The applicant

  cancelled claims 2–45 in the preliminary amendment, leaving claim 1 as the only claim in the

  application. See ’354 Prosecution History, January 7, 2015 Preliminary Amendment at 3.

  Subsequently, a Non-Final Rejection based on nonstatutory obviousness-type double-patenting

  and anticipation was sent to the applicant. See February 9, 2015 Non-Final Rejection at 3–5. In

  response, the applicant canceled claim 1 and added claims 46–57, some of which include this

  term. See May 14, 2015 Amendment, Claims. Based on this amendment, the Examiner allowed

  claims 46–57 and stated that the “[c]laims are allowed over prior art of record because the cited

  references either singularly or in combination cannot teach or suggest uniquely distinct features

  used in combination with other claimed elements ‘transmitting/receiving a multicarrier symbol

  comprising a first plurality of carriers and a second plurality of carriers’ as set forth in the

  application claims 46, 49, 52 and 55,” with no further discussion of this limitation or any other

  limitation. July 29, 2015 Notice of Allowance at 2 (emphasis in original). Claim 55 became

  claim 10 of the ’354 Patent.

          91.     In my opinion, a person of ordinary skill in the art would find that the limitation,

  “receive a first plurality of bits on the first plurality of carriers using a first SNR margin; receive

  a second plurality of bits on the second plurality of carriers using a second SNR margin” lacks



                                                    34
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 39 of 54 PageID #: 4870




  any certainty as to its meaning or scope, let alone reasonable certainty, and hence renders the

  claims indefinite.

                 3.      “wherein the first SNR margin provides more robust reception than
                         the second SNR margin”

         Claim(s)            Plaintiff’s Position              Defendants’ Position
       ’354 Patent,    Plain and ordinary meaning. No Indefinite
       Claim 10        construction necessary


         92.     I understand that the parties dispute the construction of “wherein the first SNR

  margin provides more robust reception than the second SNR margin,” which is in the above

  listed claims of the ’354 Patent. I understand that the Plaintiff contends that this term should be

  afforded it “[p]lain and ordinary meaning. No construction necessary.” Having considered the

  parties’ positions, I agree with Defendants’ position.

         93.     The specification of the ’354 patent does not disclose or define this term in

  relation to specific carriers. The specification refers to robustness as a tradeoff with data rate for

  the whole system, not individual carriers. See ’354 Patent at 2:17–33 (“DMT transceivers use a

  margin to increase the system's immunity to various types of time varying impairments. . . .When

  a DMT system is operating with a positive SNR margin, the noise can change instantaneously by

  the level of the margin and the system will still maintain the required BER. . . . Obviously the

  penalty for this increase in robustness is a decrease in the data rate, since with a 0 dB margin, a

  subchannel with 27.5 dB SNR can modulate 6 bits at 1×10−7 BER.”).

         94.     Moreover “robustness” of a signal can be measured in a number of different ways.

  The specification lists some of these as advantages of multicarrier modulation, for example, “a

  higher immunity to impulse noise, a lower complexity equalization requirement in the presence

  of multipath, a higher immunity to narrow band interference, a higher data rate and bandwidth



                                                   35
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 40 of 54 PageID #: 4871




  flexibility.” ’354 Patent at 1:45–49. Each of these provides what a person of ordinary skill in the

  art would understand as a measure of robustness, i.e., the ability to maintain a specified quality

  of operation under uncertain or changing operating assumptions. In this scenario, all of these

  measures would be related to reception, but it is unclear how each would necessarily be

  “provided for” by SNR margin. This term requires that “the first SNR margin provides more

  robust reception.” A person of ordinary skill in the art would not understand how an SNR margin

  could provide more robust reception because, as explained above, robustness can be measured in

  multiple ways and a particular carrier could be “more robust” than a second carrier for a factor

  other than the SNR margin.

         95.     Nor does the prosecution history provide any guidance on this term. The applicant

  cancelled claims 2–45 in the preliminary amendment, leaving claim 1 as the only claim in the

  application. See ’354 Prosecution History, January 7, 2015 Preliminary Amendment at 3.

  Subsequently, a Non-Final Rejection based on nonstatutory obviousness-type double-patenting

  and anticipation was sent to the applicant. See February 9, 2015 Non-Final Rejection at 3–5. In

  response, the applicant canceled claim 1 and added claims 46–57, some of which include this

  term. See May 14, 2015 Amendment, Claims. Based on this amendment, the Examiner allowed

  claims 46–57 and stated that the “[c]laims are allowed over prior art of record because the cited

  references either singularly or in combination cannot teach or suggest uniquely distinct features

  used in combination with other claimed elements ‘transmitting/receiving a multicarrier symbol

  comprising a first plurality of carriers and a second plurality of carriers’ as set forth in the

  application claims 46, 49, 52 and 55,” with no further discussion of this limitation or any other

  limitation. July 29, 2015 Notice of Allowance at 2 (emphasis in original). Claim 55 became

  claim 10 of the ’354 Patent.



                                                  36
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 41 of 54 PageID #: 4872




         96.     In my opinion, a person of ordinary skill in the art would find that the limitation,

  “wherein the first SNR margin provides more robust reception than the second SNR margin”

  lacks any certainty as to its meaning or scope, let alone reasonable certainty, and hence renders

  the claims indefinite.




                                                  37
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 42 of 54 PageID #: 4873
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 43 of 54 PageID #: 4874




                                  EXHIBIT A
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 44 of 54 PageID #: 4875




                                List of Materials Considered
        U.S. Patent No. 7,453,881
        U.S. Patent No. 9,014,193
        U.S. Patent No. 9,300,601
        U.S. Patent No. 8,090,008
        U.S. Patent No. 9,154,354
        U.S. Patent No. 8,937,988
        File History of U.S. Patent No. 7,453,881
        File History of U.S. Patent No. 9,014,193
        File History of U.S. Patent No. 9,300,601
        File History of U.S. Patent No. 8,090,008
        File History of U.S. Patent No. 9,154,354
        File History of U.S. Patent No. 8,937,988
        Provisional Application No. 60/164,134
        Provisional Application No. 60/197,727
        G.992.1- ITU
        G.993.2- ITU
        G.997.1- ITU
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 45 of 54 PageID #: 4876




                                   EXHIBIT B
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 46 of 54 PageID #: 4877




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                                                     1430 9th Street
                                              Manhattan Beach, CA 90266

  SUMMARY
  High-technology leader with proven combination of technology & business leadership for advanced technologies
  including development of core technology, licensing, strategy development, standardization, partnerships, strategic
  alliances, mergers & acquisitions. Recognized expert in broadband communications, physical-layer wireline
  technology and interference management techniques.

  EXPERIENCE
  President & Principal Consultant, CME Consulting, Inc. (5/11 - present)
  Independent consultant on high-performance communications technology and solutions, specializing in wireline
  communications. Consulting on next generation technologies, technology development, standards, intellectual
  property, and business development. Example engagements include:
                Multi-gigabit video/home networking PHY feasibility study
                25G, 40GBASE-T, and 50GBASE-T design feasibility studies with current and existing cabling
                25Gbps Ethernet architectures, design feasibility and standardization
                Next Generation structured cabling architecture and applications
                Automotive Gigabit Ethernet PHY architecture design and analysis
                Single pair Ethernet PHY architecture design and analysis (including cabling and powering)
                4 Pair Power over Ethernet standardization and applications
                Business planning for new market developments in wireline technologies
                Standards strategy and consulting
                Standards guidance, representation and sheparding
                Litigation support services, including testifying expert in patent infringement actions
  Consulting Clients include:
                Silicon Image, Inc. (6/11 – 9/11) (a designer and manufacturer of HDMI video chipsets)
                Commscope, Inc. (5/11 – current) (a designer and manufacturer of cabling systems, including
                    LAN cabling)
                Nexans, Inc. (4/12 – 8/12) (a designer and manufacturer of cabling systems, including LAN
                    cabling)
                Aquantia, Inc. (2/13 – 12/19) (a designer and manufacturer of 10Gbps and Automotive Ethernet
                    chipsets)
                Marvell Semiconductor (12/19 – current) (a designer and manufacturer of Ethernet chipsets –
                    acquired Aquantia in 12/19)
                BMW Group (1/17 – 11/19) (a designer and manufacturer of automobiles) through Technica
                    Engineering, and (6/13 – 3/14) through Berner & Mattner AG;
                Linear Technology Corporation (8/14- 3/17) (a designer and manufacturer of high performance
                    analog integrated circuits, including Power over Ethernet controllers)
                Cisco Systems (11/15-current) related to Power over Ethernet technology, and power & data in
                    general
                Analog Devices (1/17-current), related to IEEE 802.3 standards for single-pair 10Mb/s Ethernet
                APL Group (a consortium including Rockwell Automation, Siemens, Pepperl+Fuchs, Endress-
                    Hauser, focused on industrial networking) (3/17-current), related to the single-pair Ethernet for
                    industrial applications.
                See below under “Litigation Support Experience” for expert witness engagements

  Board Member, NBASE-T Alliance (2/2016 – 5/2019)
  The NBASE-T Alliance (http://www.nbaset.org) focuses on building the ecosystem and consensus required to
  enable a new 2.5GBASE-T/5GBASE-T Ethernet standard. Working with key stakeholders, the consortium releases
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 47 of 54 PageID #: 4878
                                                          2 of 9


  specifications that define 2.5 and 5 Gigabit per second (Gbps) speeds at up to 100 meters using the large, installed
  base of copper cabling in enterprise networks. More than 35 companies have joined the alliance, representing all
  major facets of enterprise networking infrastructure such as access points, Ethernet switching, and computing, as
  well as the necessary technologies required to deliver these applications including physical layer ICs (PHYs),
  processors, connectors, controllers, switches, FPGAs, Power-over-Ethernet ICs, cables and test equipment. The
  alliance was founded in 2014 by Aquantia, Cisco, Freescale and Xilinx.

  Technical Committee Chair, Ethernet Alliance (12/2015 – present)
  The Ethernet Alliance (http://www.ethernetalliance.org) is a global, non-profit, industry consortium of member
  organizations that are dedicated to the continued success and advancement of Ethernet technologies. Members
  include system and component vendors, industry experts, and university and government professionals. Ethernet
  Alliance members work together to take Ethernet standards to the marketplace. They support and originate activities
  that span from incubation of new Ethernet technologies to interoperability testing to demonstrations to education.

  Chief Technical Officer, SolarFlare Communications, Irvine, CA (1/01 – 5/11)
  CEO, Solarflare Communications, Irvine, CA (5/02 – 5/03)
  Member, Board of Directors, SolarFlare Communications, Irvine, CA (1/01 – 9/04)
   Technical Leadership: Technology visionary and founder of next-generation physical-layer communications
      fabless semiconductor company. Conceived and developed core technology, and led team to develop worlds-
      first 10GBASE-T 10 Gigabit Ethernet over Cat5e and Cat6 cabling. Developed industry ecosystem and
      standards for IEEE 802.3an (10GBASE-T) and energy-efficient version (IEEE 802.3az). Responsible for 8 key
      issued US patents (additional pending). Initiated and led IEEE 802.3an 10GBASE-T standards process to
      completion, with numerous technical contributions. Demonstrated world’s first 10 Gigabit Ethernet link over
      50m of Category 5e and Category 6 copper cabling (2004). Led team to develop silicon & demonstrate world’s
      first standard (802.3an) compliant 10GBASE-T link over 100m Cat6a cabling (2006). Led 802.3az “Energy
      Efficient Ethernet” standards development, contributing key PHY expertise to develop low power idle concepts.
     Business Leadership: Created business plan resulting in Series A funding from Foundation Capital and Sequoia
      Capital (March 2001). Recruited, built and led early development team consisting of systems engineers, digital
      and analog VLSI designers for a CMOS COT process. Successfully built out initial management team to add
      VP of Engineering and VP of Sales and led company to initial product. As CEO, raised Series B funding in an
      oversubscribed up round (October 2002). Recruited replacement interim CEO and later current CEO, Russell
      Stern in fall 2003.

  Member, Board of Directors, Aktino Corporation, Irvine, CA (5/03 – 5/05)
  Advisory Board, Aktino Corporation, Irvine, CA (5/05-5/09)
  Focused vision and helped prepare initial business plan which was successfully funded. Outside member of board
  of directors, and advisor to founding team of Telecommunications startup based on multi-wire physical-layer
  communications technology. As member of board of directors, advised on first 2 years of company’s development.
  Stepped off board after successful Series B round, continued to serve as an advisor on standards, technology and
  early business issues.

  Vice President of Strategic Planning, PairGain Technologies, Tustin, CA (4/99 – 6/00)
  Chief Scientist, PairGain Technologies, Tustin, CA (5/95 – 6/00)
  Responsible for technology strategy, wireline technology origination and standardization, new business
  development and technology marketing in $280M/yr (1998) DSL networking systems market leader, including:
   Technology strategies & new technology developments. Conception, definition and execution of corporate new
      technology strategies. Accomplishments include:
       ADSL/G.lite: Authored corporate G.lite/DMT ADSL technology strategy, negotiated technology licenses
      and managed PairGain’s Universal ADSL Working Group (UAWG) and ITU-T G.lite efforts;
       HDSL2: Definition and execution of 3+ year corporate strategy for HDSL2 single-pair T1 technology
      development and technology transition from 2-pair HDSL. Invented HDSL2-standard OPTIS transmission
      scheme allowing single-pair transmission of 1.5Mbps data at the same quality as 2-pair HDSL, formed OPTIS
      coalition and drove ANSI HDSL2 standard (T1.418) incorporating PairGain’s technology;
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 48 of 54 PageID #: 4879
                                                        3 of 9


     Intellectual Property Management & Licensing. Developed and negotiated technology and patent licensing
      agreements, including both IPR licenses to PairGain and PairGain licenses of third party IPR. Defined and
      executed DMT ADSL licensing to Rockwell Semiconductor Systems;
     Technology Standardization. Represent PairGain in xDSL standardization activities, personally authoring
      technical guidelines for spectral compatibility for xDSL systems (T1.417-2000), and driving the development of
      HDSL2 technology (T1.418-2000). Contributing member of ITU-T Study Group 15/Q4 (driving G.991 & G.
      992, including G.dmt, G.lite and G.shdsl), Universal ADSL Working Group (UAWG) and ANSI-Accredited
      Committee T1E1.4. Contributing member of Home Phone line Networking Alliance (HomePNA).
     Corporate strategy & business development. Key driver in execution of sale of microelectronics group to
      Globespan technologies for $346 million at closing. Recommended corporate alliance or merger for improving
      shareholder value & success factors in DSL networking - company merged with ADC for $2.7B in June 2000;
     Corporate presentations: frequent speaker at market forums, financial conferences, and technology forums;

  Lecturer, California Institute of Technology, Pasadena, CA (4/92-6/94)
          Ph.D. Advisor to Michael J. Flanagan following Edward Posner’s death, 7/93-6/94
          Introduction to Linear Systems: Fall 1993, Winter 1994
          Communications Systems Fundamentals: Spring 1992, 1993 and 1994

  Member of Technical Staff, Jet Propulsion Laboratory, Pasadena, CA (7/85-5/95)
        Management and team leadership in signal processing and communications research and development.
        Research, development, design and analysis of innovative signal processing algorithms and architectures
        for digital and mixed-signal systems and ASICs. Advanced development project and proposal leadership
        and presentation of new systems to internal and external customers.
        Successful proposals include:
       Tiny Transponder, an ultra-miniature coherent spacecraft radio with 10 custom ASICs & MMICs ($9M),
       Channelized Signal Processor, a 4 megachannel digital filter bank and programmable processor ($2.2M)
       Sky Survey Signal Processor, a multimegachannel digital spectrum analyzer and CW detector ($12M),
       Spur-reduced DDS research and proof-of-concept ($ 300 k), and High-linearity D/A conversion
           research and proof-of-concept ($ 250 k).

          Work Area Manager: Deep Space Network (DSN) Signal Processing Work Area.
          Managed work area for research and development in advanced signal processing for NASA's DSN.
          Technical and fiscal management of work units within work area. Responsible for schedule and budget
          planning and performance, on $900 K annual budget reporting to NASA headquarters program manager.

          Work Unit Leader: VLSI Applications Work Unit.
          Technical, budgetary & schedule team leadership of research and development activities in VLSI
          algorithms and architectures. Research results include low-complexity, spur-reduced direct digital
          frequency synthesis, and dynamic element matching D/A converters, and proved in prototype hardware.

          Systems Engineer / Architect / Analyst for NASA SETI Sky Survey (aka High Resolution Microwave
          Survey (HRMS)). Technical, schedule and review responsibility for large system definition including
          antennas, receivers, digital signal processing hardware and software for searching for extraterrestrial
          intelligent signals (SETI). Specific duties included program-planning, signal processing algorithm
          research, design option analysis, performance analysis, functional requirements definition and reviews.
          Authored and presented successful proposal for the HRMS signal processing hardware, and developed
          innovative signal-processing approaches to increase performance while reducing cost (> $2 M reduction).

          Consulting Engineer on development of a high-speed, constraint length 15 Viterbi decoder. Advised on
          program planning and evaluation of design and architecture options.

          Project Engineer on a Government project at JPL involving mixed signal processing algorithm research
          and demonstration. Designed digital signal processing boards comprising a digital spectrum analyzer,
          specified and designed system interfaces, and integrated system (IF-digital-software). Developed, tested
          and analyzed performance of algorithms in the lab and in the field.
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 49 of 54 PageID #: 4880
                                                          4 of 9



           Digital Design Engineer for an Advanced Digital SAR (Synthetic Aperture RADAR) Processor, the
           primary SAR data processor for the Magellan mission to Venus.

  Independent Consultant, self-employed (1989-1995)
  Communications and signal processing analysis, simulation and specification. Algorithmic, architectural and bit-
  level definition and simulation of mixed-signal ASICs and systems; including delta-sigma A/D and D/A converters
  and filters, error correction coding, audio compression and spread-spectrum communications networks.

  Technician, GALIL Motion Control, Mountain View, CA (2/85-6/85)
  Built, tested and troubleshot prototype and production digital motion control circuits.

  Technical Intern, NCR Corp., Engineering & Manufacturing, San Diego, CA (6/84-9/84)
  Improved clock synchronization and distribution for a modular, multi-board parallel processing unit.

  Computer Programmer, St. Francis Medical Center, Lynwood, CA (6-9/83, 6-9/81, 6-9/80)
  Created and maintained structured COBOL programs.

  LITIGATION SUPPORT EXPERIENCE
  Expert Engagement: (USITC Successfully Resolved 3/2012)
  Type of Matter: Patent Infringement (testifying expert, wrote reports & rebuttals, deposition taken)
  Law Firm: Kirkland & Ellis, LLP
  Case Name: Cisco Systems, Inc. v. MOSAID Technologies, Inc, USITC Investigation No. 337-TA-778
  Services Provided: Testifying Expert for Cisco (respondent)
  Continuing Retention in Delaware District Case

  Expert Engagement: (Closed, District of Delaware, 8/2013-4/2014)
  Type of Matter: Patent Infringement (testifying expert, wrote declaration)
  Law Firm: Kirkland & Ellis, LLP
  Case Name: Cisco Systems, Inc. v. MOSAID Technologies, Inc, C.A. No. 10-687-GMS
  Services Provided: Testifying Expert for Cisco (respondent) (continued district case related to previous ITC matter)

  Expert Engagement: (USITC Successfully Resolved 7/2012)
  Type of Matter: Patent Infringement (lead expert, wrote reports & rebuttals, deposition taken, settled before trial)
  Law Firm: Kirkland & Ellis, LLP; McDermott, Will & Emery, LLP; Crowell & Moring, LLP
  Case Name: Cisco, HP, Extreme Networks, Avaya v. Chrimar Systems, Inc, - USITC Investigation No. 337-TA-817
  Services Provided: Testifying Expert for Cisco, HP, Extreme Networks, and Avaya (respondents)
  Continuing Retention in Northern District of California Case

  Expert Engagement: (Closed, Northern District of California, - 9/2019)
  Type of Matter: Patent Infringement (expert, presented tutorial in court – awaiting further scheduling)
  Law Firm: Kirkland & Ellis, LLP;
  Case Name: Chrimar Systems, Inc. et. al. v. Cisco Systems Inc., et. al., No. C 13-01300 JSW Services Provided:
  Testifying Expert for Cisco (respondents), (continued district case related to previous ITC matter)

  Expert Engagement: (Inactive/Stayed, 8/2012- 12/2016 )
  Type of Matter: Patent Infringement
  Law Firm: Crowell & Moring, LLP, Winston & Strawn, LLP
  Case Name: Network-1 Security Solutions, Inc. v. Alcatel-Lucent USA Inc. et. al., Case No. 6:11-cv-00492-LED
  (E.D. Tex.), Including US Patent and Appeals Board CASE IPR2013-00071
  Services Provided: Consulting Expert for Respondents Avaya & Dell, Testifying Expert in IPR matter, Consulting
  Expert for Avaya in primary case.
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 50 of 54 PageID #: 4881
                                                         5 of 9


  Expert Engagement: (Closed, Western District of Texas, Austin Division,3/2013-4/2016)
  Type of Matter: Patent Infringement
  Law Firm: Dechert, LLP
  Case Names: Intellectual Ventures II LLC v. AT&T, CenturyLink & Windstream ), Civil Action No. 1:13-CV-
  00116-LY (Lead case)
  Services Provided: Consulting Expert for Plaintiff Intellectual Ventures II, expert reports and deposition.

  Expert Engagement: (Active 7/2017- )
  Type of Matter: Patent Infringement
  Law Firm: Bradley Arant Boult Cummings, LLP
  Case Name: TQ Delta LLC v. ADTRAN Inc., Case No. 1:14-cv-00954-RGA
  Services Provided: Consulting Expert, expert declarations, deposition testimony.

  EDUCATION
  California Institute of Technology, Pasadena, CA. MS Electrical Engineering '88, Ph.D. '90.
  Doctoral study on interference cancellation for multi-access communications. Information theoretically motivated,
  developed and analyzed new interference-canceling receivers for use in multi-access FM communications. Tested
  receivers in simulation on fading channels demonstrating considerable improvement in frequency reuse for analog
  FM cellular telephony. Extensive patent filed based on thesis. Advisor: Dr. Edward C. Posner.

  Stanford University, Palo Alto, CA. BS Electrical Engineering '85.

  RESEARCH INTERESTS
     High-performance wireline transmission and applications
     Energy-efficient networking
     Applied signal processing for high-performance and multi-access communications
     Quantization and coding theory in signal processing systems

  PATENTS
     U.S. Patent No. 11,061,456, TRANSMISSION OF PULSE POWER AND DATA OVER A WIRE PAIR, C.
      Jones, J. Goergen, G. Zimmerman, July 13, 2021.
     U.S. Patent 10,754,409, ENERGY EFFICIENT ETHERNET WITH MULTIPLE LOW-POWER MODES, S.
      Benyamin, P. Langer, G. Zimmerman, August 25, 2020.
     U.S. Patent No. 10,790,997, TRANSMISSION OF PULSE POWER AND DATA IN A COMMUNICATIONS
      NETWORK, C. Jones, J. Goergen, G. Zimmerman, R. O’Brien, D. Arduini, J. Potterf, S. Baek, September 29,
      2020.
     U.S. Patent No. 10,291,285, METHODS FOR PERFORMING MULTI-DISTURBER ALIEN CROSSTALK
      LIMITED SIGNAL-TO-NOISE RATIO TESTS, B. Boban and G. Zimmerman, November 4, 2016.
     U.S. Patent No. 9,883,457, METHOD AND APPARATUS FOR REDUCING POWER CONSUMPTION OF
      A COMMUNICATIONS DEVICE DURING PERIODS IN WHICH THE COMMUNICATIONS DEVICE
      RECEIVES IDLE FRAMES FROM ANOTHER COMMUNICATIONS DEVICE, G. Zimmerman, March 16,
      2015.
     US. Patent No. 8,984,304: ACTIVE IDLE COMMUNICATION SYSTEM, G. Zimmerman, November 12,
      2007.
     U.S. Patent No. 8,912,934: SYSTEMS WITH BIAS OFFSET AND GAIN MISMATCH REMOVAL FROM
      PARALLEL TRANSMITTED SIGNALS, G. Zimmerman and W. Jones, December 16, 2014.
     U.S. Patent No. 8,743,674: FREQUENCY DOMAIN ECHO AND NEXT CANCELLATION, G. Parnaby, G.
      Zimmerman, C. Pagnanelli, W. Jones, June 3, 2014.
     U.S. Patent No. 8,363,535: FREQUENCY DOMAIN ECHO AND NEXT CANCELLATION, G. Parnaby, G.
      Zimmerman, C. Pagnanelli, W. Jones, January 29, 2013.
     U.S. Patent No. 8,294,606: SUB-CHANNEL DISTORTION MITIGATION IN PARALLEL DIGITAL
      SYSTEMS, G. Zimmerman and W. Jones, October 23, 2012.
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     U.S. Patent No. 7,808,407: SUB-CHANNEL DISTORTION MITIGATION IN PARALLEL DIGITAL
      SYSTEMS, G. Zimmerman and W. Jones, October 5, 2010.
     U.S. Patent No. 7,742,386: MULTIPLE CHANNEL INTERFERENCE CANCELLATION, W. Jones and G.
      Zimmerman, June 22, 2010.
     U.S. Patent No. 7,567,666: METHOD AND APPARATUS FOR CROSSTALK MITIGATION, G. Zimmerman
      and W. Jones, July 28, 2009.
     U.S. Patent No. 7,352,687: MIXED DOMAIN CANCELLATION, W. Jones, G. Zimmerman and C.
      Pagnanelli, April 1, 2008.
     U.S. Patent No. 7,257,181: METHOD AND APPARATUS FOR CHANNEL EQUALIZATION, W. Jones and
      G. Zimmerman, August 14, 2007.
     U.S. Patent No. 7,164,764: METHOD AND APPARATUS FOR PRECODE CROSSTALK MITIGATION, G.
      Zimmerman and W. Jones, January 16, 2007.
     U.S. Patent No. 7,002,897: MULTIPLE CHANNEL INTERFERENCE CANCELLATION, W. Jones and G.
      Zimmerman, February 21, 2006.
     U.S. Patent No. 6,912,208: METHOD AND APPARATUS FOR JOINT EQUALIZATION AND
      CROSSTALK MITIGATION, G. Zimmerman and W. Jones, June 28, 2005..
     U.S. Patent No. 5,459,680: METHOD AND APPARATUS FOR SPUR-REDUCED DIGITAL SINUSOID
      SYNTHESIS, G. Zimmerman and M. Flanagan, October 17, 1995.
     U.S. Patent No. 5,068,859: LARGE CONSTRAINT LENGTH HIGH SPEED VITERBI DECODER BASED
      ON A MODULAR HIERARCHICAL DECOMPOSITION OF THE DeBRUIJN GRAPH, by O. Collins, et al,
      November 26, 1991.
     E.U. Patent No. EP2015454B1: SUB-CHANNEL DISTORTION MITIGATION IN PARALLEL DIGITAL
      SYSTEMS, G. Zimmerman and W. Jones, June 15, 2007.
     E.U. Patent No. EP1632048B1: METHOD AND APPARATUS FOR EQUALIZATION AND CROSSTALK
      MITIGATION, G. Zimmerman and W. Jones, May 16, 2003.
     E.U. Patent No. EP1625668B1: MULTIPLE CHANNEL INTERFERENCE CANCELLATION, W. Jones, G.
      Zimmerman, and C. Pagnanelli, April 22, 2004.
     E.U. Patent No. EP2255453B1: FREQUENCY DOMAIN ECHO AND NEXT CANCELLATION, G. Parnaby,
      G. Zimmerman, and W. Jones, February 29, 2008.
     E.U. Patent No. EP2503704B1: METHOD AND APPARATUS FOR EQUALIZATION AND CROSSTALK
      MITIGATION, G. Zimmerman, and W. Jones, May 16, 2003.


  SELECTED PAPERS AND CONTRIBUTIONS
  Gergely Huszak, Hiroyoshi Morita, George Zimmerman, “Backward-Compatible Forward Error Correction of Burst
  Errors and Erasures for 10BASE-T1S”, IEICE Transactions on Communications, Vol. E104-B, No. 12, December 1,
  2021, pp. 1524-1538 DOI: 10.1587/transcom.2021EBP3016.
  Ernie Gallo & George A. Zimmerman, “Power over Ethernet: An Emerging Old Technology”, ISE Magazine,
  https://www.isemag.com/2018/03/emerging-old-technology/, March 2018.
  Marek Hajduczenia, Steven B. Carlson, Dan Dove, Mark Laubach, David Law, George A. Zimmerman, “Evolution
  of Ethernet Standards in IEEE 802.3 Working Group”, IEEE Standards University,
  http://www.standardsuniversity.org/e-magazine/august-2016-volume-6/evolution-ethernet-standards-ieee-802-3-
  working-group/ , August 16, 2016.
  George. Zimmerman and David Chalupsky, “Defining today’s BASE-T Application Space”, Cabling Installation
  and Maintenance Magazine, http://www.cablinginstall.com/articles/2016/05/ethernet-alliance-base-t-
  applications.html , May 2, 2016.
  George. Zimmerman and David Chalupsky, “The Spaces of BASE-T”, Ethernet Alliance whitepaper,
  http://www.ethernetalliance.org/wp-content/uploads/2016/04/BASE-TSpaces_EA_FINAL-041816.pdf , April 18,
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  MDI Task Force Contribution, http://www.ieee802.org/3/bt/public/mar16/zimmerman_3bt_01a_0316.pdf , March
  15, 2016.
  G.A. Zimmerman, “Impact of length-scaling on worst-case NEXT for 30m channels”, IEEE P802.3bq 40GBASE-T
  Task Force Contribution, http://www.ieee802.org/3/bq/public/nov13/zimmerman_3bq_01a_1113.pdf, November 12,
  2013.
  G.A. Zimmerman, “Evaluating Power Sensitivity for Channel Impairments”, IEEE 802.3 Next Generation BASE-T
  Study Group Contribution, http://www.ieee802.org/3/NGBASET/public/mar13/zimmerman_01_0313_NGBT.pdf,
  March 15, 2013.
  G.A. Zimmerman, “Relative Power Estimates for 40GBASE-T over 25m and 30m on Category 8”, IEEE 802.3 Next
  Generation BASE-T Study Group Contribution,
  http://www.ieee802.org/3/NGBASET/public/jan13/zimmerman_01a_0113_NGBT.pdf , January 22, 2013.
  G.A. Zimmerman, “Complexity, Utility, and Energy Efficiency for Copper Ethernet at 10Gb/s and Beyond”, ISSCC
  ATAC High Speed Interfaces Forum, February 2009.
  G.A. Zimmerman, “Challenges for 10Gb/s Implementation on UTP Media”, IEEE LEOS High Speed Interconnect
  Workshop, May 2006.
  G.A. Zimmerman, “Innovative Technologies Enabling 10GBASE-T”, Network Systems Design Conference,
  October 2005.
  G. Zimmerman, “Power Backoff”, IEEE P802.3an Task Force Contributions: Zimmerman_1_0205.pdf,
  Zimmerman_1_0305.pdf, Zimmerman_2_0305.pdf, February & March 2005.
  G. Zimmerman, “Transmission Proposal for 10GBASE-T”, IEEE P802.3an Task Force Contribution
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  G.A. Zimmerman & S. Rao “IEEE 802 10GBASE-T Tutorial: PHY”, IEEE 802.3 Plenary Tutorial,
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  G.A. Zimmerman, “Challenges for 10Gb/s on UTP Media”, Communications Design Conference, Sept 30, 2003.
  G. Zimmerman and W. Jones, “10GBASE-T Challenges and Solutions”, IEEE 802.3 Plenary Tutorial,
  http://www.ieee802.org/3/tutorial/nov02/tutorial_1_1102.pdf, November 11, 2002.
  G. A. Zimmerman, “Achievable rates vs. operating characteristics of local loop transmission: HDSL, HDSL2,
  ADSL and VDSL”, Signals, Systems & Computers, 1997. Conference Record of the Thirty-First Asilomar
  Conference on Signals, Systems and Computers, Volume 1, 2-5 Nov 1997 Page(s):573 - 577 vol.1
  G.A. Zimmerman, “Normative Text for Spectral Compatibility Evaluations”, PairGain contribution, T1E1.4/97-
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  G.A. Zimmerman, “OPTIS HDSL2: Performance and Spectral Compatibility”, PairGain contribution, T1E1.4/97-
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  G.A. Zimmerman, “Approaches to CSA-Reach Single-Pair HDSL”, PairGain contribution, T1E1.4/96-063, April
  1996.
  M.J. Flanagan and G.A. Zimmerman, “Spur-Reduced Digital Sinusoid Synthesis”, IEEE Transactions on
  Communications, Vol. 43, No. 7, July 1995, pp. 2254-2262.
  Ian Galton and George Zimmerman “Combined RF Phase Extraction and Digitization”, 1993 IEEE International
  Symposium on Circuits and Systems, Chicago, Illinois, pp. 1104-1107, May 1993.
  G.A. Zimmerman and M.J Flanagan, “Spur-Reduced Numerically-Controlled Oscillator for Digital Receivers”, 26th
  Annual Asilomar Conference on Signals, Systems, and Computers, October 26-28, 1992.
  G.A. Zimmerman, “Applications of Frequency Modulation Interference Cancellers to Multi-access Communications
  Systems,” Ph.D. Thesis, June 1990, California Institute of Technology.
  G.A. Zimmerman and E.T. Olsen, “Analysis of I/O Efficient Order-Statistic-Based Noise Power Estimators”, IEEE
  International Conference on Acoustics, Speech and Signal Processing, March 1992.
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  G.A. Zimmerman, M.F. Garyantes, and M.J. Grimm, “A 640-MHz 32-Megachannel Real-Time Polyphase-FFT
  Spectrum Analyzer,” 25th Annual Asilomar Conference on Signals, Systems, and Computers, November 1991.
  G.A. Zimmerman and S. Gulkis, “Polyphase-FFT Spectrum Analysis for the SETI Sky Survey”, Joint USA-USSR
  Conference on the Search for Extraterrestrial Life, August 1991, Santa Cruz, California.
  J. Statman, G. Zimmerman, F. Pollara, and O. Collins, “A Long Constraint Length VLSI Viterbi Decoder for the
  DSN”, The Telecommunications and Data Acquisition Progress Report 42-95, November 1988.

  HONORS
  Senior Member, IEEE
          Member, IEEE Standards Association, IEEE Communications Society, IEEE Solid State Circuits Society

  IEEE-SA Standards Medallion, “for significant contributions to IEEE 802.3 Ethernet standards from strategic,
  technical and organizational perspectives.” (9/17)

  Member-at-Large IEEE-SA Board of Governors (term: 12/2020 – 12/2022)

  Voting member of IEEE 802.3 Ethernet Working Group (current), including leadership roles:
          Chair, IEEE 802.3 Greater than 10 Mb/s Long-Reach Single Pair Ethernet Study Group
          Chair, IEEE P802.3de Enhancements to the MAC Merge function and the Time Synchronization Service
                               Interface (TSSI) to Include Point-to-Point 10 Mb/s Single Pair Ethernet Task Force
          Chair, IEEE P802.3de Power over Data Lines of Single Pair Ethernet (Maintenance #17) Task Force
          Chair, IEEE P802.3cg 10 Mb/s Single Pair Ethernet Task Force
          Chair, IEEE 802.3 10 Mb/s Single Pair Ethernet Study Group
          Chief Editor, IEEE Std. 802.3bz-2016 2.5G/5GBASE-T
          Chief Editor, IEEE Std. 802.3bq-2016 25G/40GBASE-T
          Participant, IEEE P802.3bp 1000BASE-T1, IEEE P802.3bt 4 Pair Power over Ethernet, and IEEE
               P802.3bu Single Pair Power over Data Lines Task Forces.

  Member, IEEE 802 Standards Committee – 802 Executive Committee Treasurer (7/18-present)

  IEEE Standards Association Certificates of Appreciation
           IEEE Std. 802.3bz-2016, 2.5G/5GBASE-T, IEEE Std. 802.3bq-2016, 25G/40GBASE-T, IEEE Std.
           802.3an-2006, 10GBASE-T and IEEE Std. 802.3az-2010, Energy Efficient Ethernet

  Member, National Fire Protection Association
         Member, NFPA70/NEC® Task Group on Power over Ethernet (2020 code cycle)
         Chair, NFPA70/NEC® Task Group on Communications (2023 code cycle)
         Member, NFPA70/NEC® Code Making Panel 3, Special Expert (since 2020 code cycle)

  Member, Telecommunications Industry Association,
         Participant and voting member, TIA TR42 (2011 – current)
         Member US TAG ISO/IEC SC25/WG3 (2012-2016)

  Best Paper Award, Design SuperCon97, January 1997

  NASA Monetary Awards for patent applications
        “Method and Apparatus for Spur-Reduced Digital Sinusoid Synthesis” (12/94) and “A Large Constraint
        Length, High Speed Viterbi Decoder…” (5/91)

  NASA Monetary Awards for NASA Tech Briefs:
        “I/O Efficient RFI-Robust Order Statistic-Based Noise Power Estimators” (11/94), “Real-Time, Polyphase-
        FFT, 640 MHz Spectrum Analyzer” (11/94), “Spur-Reduced Numerically-Controlled Oscillator”, (8/93),
        and “Large-Constraint-Length, Fast Viterbi Decoder,” (10/89).
Case 2:21-cv-00310-JRG Document 135-25 Filed 05/06/22 Page 54 of 54 PageID #: 4885
                                                      9 of 9


  NASA Group Achievement Awards for:
        The High Resolution Microwave Survey Team (3/93), The Advanced Error-Correcting Code Research and
        Development Team (6/92), The Magellan Radar Group (6/92), and The Advanced Digital SAR Processor
        Development Team (4/88)

  F.E. Terman Award for Scholastic Achievement in Engineering (Stanford University) (2/85)

  Tau Beta Pi National Engineering Honor Society (12/84), Phi Beta Kappa National Honor Society (5/83)

  STATUS: US citizen, Elapsed EBI (Inactive)
